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United States Courts
Southern District of Texas
IN THE UNITED STATES DISTRICT COURT FILED
FOR THE SOUTHERN DISTRICT OF TEXAS MAY 01 2023
KRISTOPHER D. CARTER, Nathan Ochsner, Clerk of Court
PLAINTIFF, :
VS. : CASE NO:

HARRIS COUNTY SHERIFF’S :
DEPARTMENT, JAMIE MICHELE : COMPLAINT AT LAW AND IN EQUITY
BURRO (IN THEIR INDIVIDUAL AND :
OFFICIAL CAPACITY), SHAMANDA  : JURY TRIAL DEMANDED
- HARRIS (IN THEIR INDIVIDUAL AND :
OFFICIAL CAPACITY), KOHISHA

BLAYLOCK,
. DEFENDANTS.

COMPLAINT AT LAW AND IN EQUITY
AND NOW, comes the Plaintiff, Kristopher D. Carter, by and through himself, to file this instant
complaint and in support thereof avers as follows:

1. The Plaintiff hereby initiates the instant action against the Defendants by way of 42 U.S.C. §
1983 as well as other relevant torts and claims arising out of the false and unjustified arrest of the
Plaintiff as well as other violation of rights thereby giving rise to the instant action.

2. As a direct and proximate result of the misconduct of the Defendants individually and
collectively described herein, Plaintiff suffered economic and non-economic damages in an
amount to be fully determined in a trial by jury.

3, The Plaintiff is seeking compensatory and punitive damages against each of the Defendants
named in the instant matter individually and collectively in an amount to be determined in a trial

by jury as well as any and all other Relief deemed necessary and applicable.

JURISDICTION AND VENUE

4. This Court has jurisdiction over federal questions pursuant to 28 U.S.C. §§ 1331,

1343 and 42 U.S.C. §§ 1983, 1988.
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5. Venue is proper in this Court under 28 U.S.C. § 1391 (b) because all incidents, events, and

occulrences giving rise to this action occurred in this County of Harris.

Moreover, upon information and belief, all of the parties reside in this Judicial Districts.
PARTIES

6. This Complainant Kristopher Donte Carter resides in Harris County, Texas. This

Complainant at all times material hereto a citizen of the United States and the state of Texas.

7. This Complainant was prior to these civil rights violations acted upon was employed by the

Houston Independent School District Police Department as a duly appointed and Sworn Police

Officer, and was acting in his individual capacity and/or under color of state law, and within this

scope of his employment.

8. This Complainant at all times maintains his innocence despite enduring defamatory and (life-

altering) employment-terminating willful and wanton action(s) whereas acted upon.

9. This Harris County Sheriff's Department (HCSO) is and was at all times material hereto a

Harris County agency, providing this vehicle in which this county fulfills its policing functions.

10. Upon information and beliefs, Defendant Burro is and was at all times material hereto a

citizen of the United States and the state of Texas.

11. Defendant Burro was at all times was employed by this Harris County District

Attorney’s Office as a duly appointed and sworn assistant district attorney, and was acting in this

individual capacity and/or under color of state law, and within this scope of this employment.

12. Upon information and beliefs, Defendant Shamanda Harris is and was all time material

hereto a citizen of the United States and the state of Texas.

13. Defendant Harris was at all times was employed by this Harris County Sheriff's
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Office as a duly appointed and sworn deputy, and was acting in this individual capacity and/or
under color of state law, and within this scope of this employment.

14, Upon information and beliefs, Defendant Kohisha Blaylock is and was all time material
hereto a citizen of the United States and the state of Texas. Defendant Blaylock is also this
respondent of this 309th Judicial District of Harris County, Texas. (Case number:
2021-14248) civil court proceedings.

STATEMENT OF FACTS

A. Deprivation of Rights

15. On or about March 2, 2021, this complainant, Police Officer Kristopher D. Carter, appeared
at Kohisha Blaylock’s residence in effort of conducting this routine visitations of this minor (by
this initials of “S.C”) that both, this complainant and Blaylock mutually share.

16. This address of this location is at 1550 Westborough Drive Apartment 7306, Katy,

Texas 77449. This age of this minor was 13 years of old during this time. (Date of Birth: 06-
08-2007)

17. This complainant acknowledges that, both, this complainant and Blaylock shared this
following family court appointed mediated-custodianship(s) contracts from this following
Uniform Child Custody and Enforcement Act. See Texas Family Code 152.102(4).

[State of Wisconsin Circuit Court for Dane County (Case number: 2007FA 1593)][309th
Judicial District of Harris County, Texas. (Case number: 2021-14248)]

18. This complainant also acknowledges that, this complainant and Blaylock, were actively

engaging in this long-term and mutually-consensual sexual relations since this dates of J anuary

2006.
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19. This complainant reveals that this complainant and Blaylock would regularly engage in
sexual intercourses at these routine standards of approximately 10 to 15 times per month.

20. This complainant cites that upon checking on this safety and soundness of this minor (by this
initials of “S.C”) that this minor was in fact “home alone “and not currently within this presence
of any previously-arranged care providers. (As mutually agreed by this Complainant and
Blaylock). This complainant also recognizes to verbally asking this minor “soft-skilled” probing
questions towards finding out Blaylock’s current statuses.

21. This complainant acknowledges that this “soft-skilled” approach was solely to determine all
current “legal” housing standards and adolescent threat assessments (if any) as satisfied “actual”
care requirements for this minor. More importantly, this complainant records this previous fact(s)
of prior apartment housing “break-ins” as well as reports of stalking and prospective criminal
public lewdness actions (which were directed towards, both, this minor and Blaylock) and
thoroughly reported by Blaylock to this District of Westborough managerial staff members. This
address of this District of Westborough leasing offices is located at 1550 Westborough Drive,
Katy, Texas 77449.

22. In response, this minor, outlined to this complainant that Blaylock was currently out with her
“new friend” while continuing to verbally express in details, that this minor is more recurrently
and more frequently left alone and unsupervised for “estranged” and prolonged periods of times,
which and/or included multiple over 24-hour durations.

23. Upon receiving this notifications, this complainant recalled similar custodial- reoccurrence(s)
in which Blaylock was not present in this dwellings shared between, this minor and Blaylock.

(This complainant also records no prior record of modified custodial- arrangements)
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24, Most noted; on January 26, 2021, this complainant recalls on viewing for what appeared to
be Blaylock departing from this “unfamiliar” white in color “Volvo” sedan of this local
convicted felon. Subsequently, upon receiving this dwelling standard from this minor, this
complainant contacted (via this telephone) this complainant’s mother (Venus Council) and
stepfather (Kenneth Council), as well as Blaylock’s mother (Tina Archie) and father (Terry
Blaylock) to inform all parties of what event(s) were currently transpiring. (To this detriments of
this minor’s current living standards and positions) (Date of Birth: 06-08-2007)

25. Conversely, upon Blaylock being emotionally informed of all parental standards and
notification(s) which were concurrent, this complainant received this telephone call from this
Blaylock’s Sister (Terry Michelle Blaylock) who began to aggressively engage in this use of
profanity as this start of a series of verbally-abrasive assaults towards this complainant . These
“sizable” and highly “aggressive” verbiages of “profanity” outpourings were constant in
alarming this complainant of notifications of Blaylock’s positions of actively and concurrently
being engaged in constant “hardcore sex” with this convicted felon.

26. With all details verbally perceived, this complainant departed from this location with this
regained custodial care of this minor. (By this initials of “S.C”) (Date of Birth: 06-

08-2007).

27. Most prominently, amongst this time, this complainant was undoubtedly and alertly
concerned of any in-person contacts with this convicted felon (whether voluntary and/or
involuntary) (of any) involvements of contacts shall be within direct violations of this
Houston Independent School District Police Department Conduct and Authority policy

directives. “Associations with Criminal and Others”
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28. Hours later, this complainant received a telephone call from this unidentified phone number
of 832-443-3542.

29. Upon contact, this initially, unidentified individual, swiftly introduced themselves as
Sergeant Gbunblee of this Harris County Sheriff's Department. (Unit 44836) Within this
conversations, Sergeant Gbunblee advised to this complainant that contact was made to this ~
Harris County Sheriff’s Department by Blaylock.

30. Sergeant Gbunblee went on to further explain that this in-person interviews with

Blaylock was thoroughly and “crowd” exhausted and caused for no-contacts to this Harris
County District Attorney’s Office for further initializing this,’commonly-routine”,
criminalization steps, towards this complainant.

31. Sergeant Gbunblee further notified this complainant that because of this title of being a
current and sworn State of Texas peace officer license holder (Texas Commission of

Law Enforcement number: 438761) within all official governmental municipalities’, that contact
would have to be made with this supervisory personnel at this complainant’s employer. (Houston
Independent Schoo] District Police Department) This Houston

Independent School District Police Department is located at 3500 Tampa Street, Houston,

Texas 77021.

32. During this time, this complainant was currently a U.S. and State of Texas

Constitutionally sworn 3rd shift patrol officer with this Houston Independent School

District Police Department for approximately 4 2 years.

33. Upon lasting contact being made by this Sergeant Gbunblee (Unit 44836), immediate contact

was made by Sergeant Sophus (Unit 36p) of this Houston Independent School District Police

Department.
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34. Upon all verbal requests (of whereabouts), this complainant disclosed this and current
residential address of 1919 South Kirkwood Road, Apt 162, Houston, Texas 77077.

35. It shall be noted; this Sergeant Sophus Unit 36p of this Houston Independent

School District Police Department also made verbal contacts with Blaylock within this time.
36. On March 3, 2021, (as indefinite, eternal finalizing points of contact with

Blaylock) this complainant contacted this Harris County Sheriff's Department and summoned
for a patrol deputy to “assist” in retrieving all properties and belongings to this minor. (By this
initials of “S.C)

37. Upon all responses, Harris County Sheriffs Department, Deputy Paredes, (Unit

44B35) (arrived at this location of 1550 Westborough Drive apartment 7306, Katy, Texas
77449) and (as per uniform worn body camera documentations) on-viewed all civil interaction(s)
between this complainant, this minor and Blaylock.

38. During this time, all of this minor’s possessions were “successfully” removed from this
Blaylock’s residence without any physical altercations or physical injuries.

39. Despite all “after-thoughts” of successes, (By Deputy Paredes and this complainant)
supervisory personnel contact(s) were once more confirmed from Blaylock with verbalized
report(s) of “harassment” which were reported to this complainant’s supervisor, Sergeant
Sophus Unit 6p.

40. On March 3, 2021, this complainant contracted with this legal representation(s) of this law
_ Offices of Michelle Leblanc. Attorney Michelle Leblanc is a family-law practicing, specialist.
41. This law offices of Michelle Leblanc s address is located at 440 Louisiana Street,

Suite 900, Houston, Texas 77092.
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42. Attorney Michelle Leblanc, “who” within all rights, agrees to “civilly-assistant” and “civilly
support” this complainant amongst all State of Texas judicial “pursuits” for this benefits of
receiving full custodial and “actual” care rights for this minor. (By this initials of

“S.C) (Which shall be administered by this See. Texas Family Codes (Chapter 152) for initial
jurisdictions services and answers.
43. On March 12, 2021, this complainant filed this incident summaries with this Texas
Department of Family and Protective Services; as per advised documentation purposes [and
multiple personnel(s)] of this parental disputes from March 2, 2021.
44. In which, during this time, this complainant was highly weighed towards pursuing all full-
custodial rights’ for this minor. (By this initials of S.C.)
45. On March 22, 2021, Blaylock was served with this petitions to establish parent child
relationships as per this 309th Judicial District of Harris County, Texas. (Case number:
2021-14248), [Envelope number: 51394622]
46. On March 31, 2021, this complainant filed this small claims petitions with this
Justice of this Peace Courts 5 Place 2. (Case number 215200088620) This address of this
Justice of this Peace Courts 5 Place 2 is located at 16715 Clay Road Unit 4, Houston, Texas
77084.
47. This claims for civil causes of action(s) were omened for Slander, Libel and
Defamation(s) reasonings from this previous “frivolous” and “untrue” police reporting in which
stems from this initial non-factual reporting of case number: 2103-00815. (For which was

relieved from Harris County Sheriff's Department)
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48. On March 31, 2021, this complainant received a telephone call from 713-274-9182 of this
Detective Matthew Walker Unit 60D12 of this Harris County Sheriffs Department. (Adult
Special Crimes Sections) (Criminal Investigations Bureau)

49. This address of this Detective Matthew Walker Unit 60D12’s office is located at

601 N. Lockwood Drive, Houston, Texas 77011.

50. In which, details, within in this conversations were stemming back to this incident dates of
March 2, 2021. Within this conversations, this Detective Matthew Walker Unit

60D12 explained that he was assigned to this case as per “pre cautionary reasonings” against
“domestic violences.”

51. In responses, this complainant, advised to this Detective Matthew Walker Unit

60D 12 (Adult Special Crimes Sections) (Criminal Investigations Bureau) that Blaylock “Lies a
lot!” In turns, this Detective Matthew Walker Unit 60D12 (Adult Special Crimes

Sections) (Criminal Investigations Bureau) advised to this complainant;

I. “I have been doing this job for almost 25 years, so if she’s lying I shall be able to tell.”

If. Also, within, this conversations, this Detective Matthew Walker Unit 60D12 verbalized to this
complainant “I should have this case wrapped up in about a day or two.”

52. For this record, on April 6, 2021, this complainant (along with this family law representative
attorney, Michelle Le Blanc) engaged in a [(309th Judicial District of Harris

County, Texas (Case number: 2021-14248)] Temporary Restraining

53. Conversely, on April 7, 2021, [after not receiving (any) spoken affirmation(s) of official
procedurals of disposition(s)], this complainant contacted this Detective Matthew

Walker Unit 60D12 over professional emails.[Mathew.Walker@ sheriff.hctx.net] within this

series of emails, [which was cc: Mike.Nyugen@sheriff.hctx.net] Harris County Sheriff's
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Department. (Adult Special Crimes Sections) (Criminal Investigations Bureau), Stated
a) “Mr. Carter, I am still working on your case. I will contact you as soon as I have a
disposition provided by this HCDA Office. Thanks.”
b) On April 8, 2021, it was expressly requested as per response emails from this
Detective Matthew Walker Unit 60D12,

c) “Mr. Carter, Please email me any information or evidence you would like to
provide for this case. This can include screenshots or text messages threads between you
and your ex-wife or anything else you feel is relevant. I will contact you once I have had

an opportunity to go through the evidence. Thanks.
54, On or about April 6, 2021, upon receiving [willful and wanton] frivolous outcries of
exculpatory material(s) from Blaylock, Detective Matthews requested for Blaylock to provide
her cell phone to this Harris County Sheriff’s Department for a “scheduled routine” forensic-
analysis; However, Blaylock [under procedural constants] of Detective Matthews would not
comply with “any” requests.
55. It was learned during this time, that Blaylock denied all cell phone device forensic requests
from Detective Matthew Walker Unit 60D12 in lieu of “any” exculpatory materials, discoveries
and/or transparences.
56. During this time, Blaylock quickly would change her personal cell phone devices and/as well
as her personal telephone numbers ‘from [414-333-5330 to 832-880-7484] for all willful and
wanton purposes of tampering with and obstructing evidences. (From this Harris County
Sheriff's Department)
57. Never the less, it was this same devices which was used by Blaylock to provide frivolous and

false exculpatory evidence(s) against this complainant [to detective Harris] in which was swiftly

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utilized and acted upon as prosecuting materials against this former police officer (without
delays).
58. On April 12, 2021, this complainant received a telephone call from 713-274-1845 from an
individual in which verbally expressed and represented themselves as “Detective
Shamanda Harris of the Harris County Sheriff's Department.” in which, after this short
introductions, quickly and verbally pushed towards summoning this complainant to “come to this
police department.”
59. This address of this Detective Shamanda Harris of the Harris County Sheriff's
Department is located at 601 N. Lockwood Drive, Houston, Texas 77011.
60. Within minutes of any introductions, it was solicited and pressed over [within all
confinements of this call] as advice that “the best thing” for this complainant to do would be to
simply “come to this police department.”
I. In which, this complainant verbally declined. In response, this Detective Shamanda
Harris stated “Well she is saying a lot of things about you.” In turn, this complainant declared:
“That’s not a problem. Just do your job!”
61. On April 15, 2021, it is confirmed, that this complainant emailed Detective
Matthew Walker Unit 60D 12, [Mathew.Walker@ sheriff.hctx.net] with this tagged cc: of
[Mike.Nyugen @sheriff.hctx.net] and provided all of these following:
I. Copies of 309th Judicial District of Harris County, Texas (Case number: 2021 14248),
Petitions to Establish Parent Child Relations-PDF Forms- Generated on: 03/22/21
Il. Copies of Justice of the Peace Precinct 5 Place 2- Small Claims Money Damages

Petitions (Case number: 215200088620)-Generated on: 03/31/21

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II. (1) Photographed [Screenshot] [Of Sergeant Gbunblee’s (Unit 44S36)] - Call from
March 2, 2021, with this caption as “blasted” as follows: [Generated on: 03/02/21]
IV. “Spoken with HCSO Sgt. who was at the scene on 3/2/21 and advised that there was no
wrong doing found. This individual advised that Ms. Blaylock had made several
conflicting statements while at the scene which caused no warrants or needs to contact
the DA.”
V. Affidavit of Delivery for Citations and Services- Small Claims Money Damages
Petitions (Case number: 215200088620) - for Copies of Justice of the Peace Precinct 5
Place 2. [Generated on: 04/01/2021]
62. On April 18, 2021, this complainant, received this contact [which is confirmed] from this
Detective Shamanda Harris of the. Harris County Sheriff’s Department in response:
A. “Good evening B. This is Deputy Investigator Harris which is the lead investigator for
your case. C. I was informed by Deputy Investigator Walker, that you spoke with Sgt. Gbunblee
44S36 while on scene but he is not your investigator on your case. Sst. Gbunblee was on scene
the day of this incident but now your case is assigned to the Domestic Violence Division. I will
be presenting your case to the HCDA at my earliest conveniences. If you have any more
questions or concerns please feel free to email me. My office number is 713-274-1845. “
63. Within this Month of April 2021, this complainant arrived at this Harris County
Sheriff's Department (Internal Affairs Division) and spoke with this Harris County Sheriff’s
Department (Internal Affairs Division), Supervisor Sergeant Riojan. (Sergeant Riojan is best
described as white [ethnicity], of (non-Hispanic), tall and slendered built.
64. More notably, within this time frame, this complainant summoned to [Supervisor

Sergeant Riojan] efforts to successfully file a complaint against “Both Deputy Investigators

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Walker and Deputy Investigator Harris, for “[Trying to file a false charge against me.]”
65. It was inquired by this [Supervisor Sergeant Riojan] “Where is this case currently at?!” In all
final responses, this [Supervisor Sergeant Riojan] stated:
A. There’s nothing that could be done because “They might just end up dropping this
Case.....” [Supervisor Sergeant Riojan] also verbally expressed that she had “no ideas of who
Deputy Investigator Walker Unit 60D12 was. “

66. Suddenly, on May 5, 2021, this complainant receives a telephone call from this minor, (By
this initials of “S.C.”) in which it was verbally broken-down by this minor that this, Detective
Shamanda Harris of this Harris County Sheriff's Department, was currently “with me at my
school.”
67. According to this minor, this minor was involuntarily removed from class by
Detective Shamanda Harris of this Harris County Sheriffs Department in efforts of petitioning
this minor towards “answering a few question(s).” This address to this location shall remain
marked as unlisted for public safety. See. Texas Education Code.
68. Under, this current resolved emotional responses, in receiving this “unforeseen” information,
this complainant, verbally-allowed and permitted this Detective Shamanda Harris of this Harris
County Sheriff's Department [Full] parental consent and police procedural accesses during this
time frame.
69. In which, this police-issued and “non-custodial” interview was recorded for this record by
Detective Shamanda Harris of this Harris County Sheriff's Department [Recording devices was
currently, on-viewed] as well as a third party school-based administrator [witness] of this middle

school by this name of Mrs. Thacker.

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70. In which, this Detective Shamanda Harris of this Harris County Sheriffs Department, whom,
- (while looking at this minor directly in her eyes) had proceeded to strategically interrogate this
minor; (By this initials of “S.C.”) [Upon witnesses of all parties] this following question(s):
A. Detective Shamanda Harris: “Have you ever seen your father hit or strike at your
mother?”
B. Minor (By this initials of S.C.): [In which, although dismayed, and disheveled within
this terrifying and highly-pressured moment answered]:
C. “No. I’ve never seen my father hit my mother. Never.”
D. Detective Shamanda Harris: “What do you know about your mother and this other guy
that she is dating? “
E. Minor (By this initials of S.C.): “I don’t know, but my father does not want me to be
around him.”

71. Upon enduring these “unexpected” and usually high and elevated level(s) of
“callously-tactical interrogations”, this minor (By this initials of S.C.) later admitted (To this
complainant) that she could not actively process any of her remaining work for the remain of this
day.
72. On May 7, 2021, this complainant hired and contracted with this legal services from this Law
Offices of Justin Keiter.
73. This address of this Law Offices of Justin Keiter is located at 1906 Heights
Boulevard, Houston, Texas 77008.
74. This complainant contracted with this legal services of Justin Keiter with these intentions of
allocating for this legal representative to present (a “hefty” stack) of court drafted legal custodial

document(s) and previous “frivolous” police report(s) (that was previously filed by Blaylock) to

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Detective Shamanda Harris of this Harris County Sheriff's Department for this easier
accessibility of sworn investigative truth-seeking [amongst] legalities [thorough] evidence-based
sheriff's department investigative procedural maneuvers and policies.
75. In addition, this legal representative’s duties and were to ensure that all avenues of this
investigation were fair and impartial to this client and that this complainant and this minor
(By this initials of S.C.) Constitutional rights were not infringed upon.
76. In fact, all dockets and aligned evidence(s) were presented as “available to be viewed and/or
copying” to this detective Shamanda Harris of this Harris County Sheriff’s Department in effort
of making sure that all aspects of this investigations were fair and impartial.
77. Upon making contact with this detective [which was confirmed by emails], this complainant
provided this legal representative with this following:
A. (1) Copies of 309th Judicial District of Harris County, Texas (Case number: 2021-
B. 14248), Petitions to Establish Parent Child Relations-PDF Forms- Generated on:
03/22/21
C. Copies of Justice of the Peace Precinct 5 Place 2- Small Claims Money Damages
Petitions (Case number: 215200088620)-Generated on: 03/31/21
D. (1) Photographed [Screenshot] [Of Sergeant Gbunblee’s (Unit 44S36)] - Call from
March 2, 2021, with this caption as “blasted” as follows: [Generated on: 03/02/21]
E. “Spoken with HCSO Sgt. who was at the scene on 3/2/21 and advised that there was no
wrong doing found.
F. This individual advised that Ms. Blaylock had made several conflicting statements while

at the scene which caused no warrants or needs to contact the DA.”

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G. Affidavit of Delivery for Citations and Services- Small Claims Money Damages Petitions
(Case number: 215200088620) - for Copies of Justice of the Peace Precinct 5 Place 2.
Generated on: 04/01/2021]
J. Previously filed Harris County Sheriff's Department incident police report (Case number:
16-84385)
K. Previously filed Madison Police Department occurrence report (Case number: 2009-
224165)
L. [This legal representative of Justin Keiter allocated that “any and all” staging of
transparency, indefinitely, shall be immediately presented upon request.][However, this
request(s) were in-tactfully declined by this Detective Shamanda Harris of this Harris County
Sheriff?’s Department. |
78. Following this account, in like-minded fashions, on May 10, 2021, Blaylock voluntarily
attended this 309th Judicial District of Harris County, Texas. (Case number: 2021-14248), [and
voluntarily sealed and affirmed this final stage(s) of voluntarily and consensually-signing away
all parental rights to this minor (By this initials of S.C.) and (In which) in-arbitrarily fashions,
“tossed” them to this complainant. As voluntary awarded default(s) [on this dates] amongst [this
minor and this complainant] as per this 309th Judicial District of Harris County, Texas [this
complainant] was awarded full, temporary custodial rights for case number: 2021-14248.
79. On May 12, 2021, this complainant hired this legal representatives of Dustan
Orlando Neyland, who upon contract contacted this Detective Shamanda Harris of this Harris
County Sheriff's Department. [Confirmations by emails]
80. This address of law offices of Dustan Orlando Neyland is located at 701 N. Post

Oak Road Suite 425, Houston, Texas 77024.

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81. As, upon all judicial offerings of documental “transparencies”, this legal representative
published knowledge of these “current” and “in-session” court docket presentations to Detective
Shamanda Harris of this Harris County Sheriff's Department.

82. [Detective Shamanda Harris of this Harris County Sheriff's Department declined all
offerings for all legal representative conferences and briefings, presented by this attorney
Dustan Orlando Neyland.]

83. However, [despite all measures to in sue judicial investigatory-truthfulness, and signed
criminal warrants of sworn integrities] subsequently, on or about, May 25, 2021, in this
[retaliatory] insidious nature, Houston Independent School District Police Officer Kristopher

D. Carter, D.O.B. 07-09-1986 was arrested at this place of employment at this Houston
Independent School District Police Department located at 3500 Tampa Street, Houston, Texas
77021.

84. During which, within this time, and of despite of (any) notable worthiness’ of within
judicially representatively being petitioned not to proceed with [any] attempts to arrest this
Sworn Police Officer (Under this color of law) at his current place of employment, [in avoidance
of political outcries for malicious public-shaming motives] and/or that this best method for
criminalized custodial “detained” arrangements (if any) shall be (by present means) through his
current legal representations; Notwithstanding (in similar-like and [outdated] malicious fashions,
and without “any” credible and actual policy-based “competent” probable cause justifications;
Detective Shamanda Harris appeared at this Houston Independent School District Police
Department [armed] while this [with intent to place harms] [in which are solely directed towards
this complainant] willfully and wanton omitted sworn documentations of “all” pertinent factual

motive for concurrent events]

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85. This inaccurate and skillfully-cunning legal brief documentations, consisted of crafty and
strategically measured false-frames [(which were “evilly” conspired) by both Blaylock and
Detective Shamanda Harris] of “all” accurate and verifiable events [in which were already
“bestowed and clamored” amongst this complainant’s multiple legal representatives]

86. This was craftily and slickly drawn up in order to acquire and present an in-hand “arrest”
warrants against this Police Officer (sworn under this penalty of Perjury. See. Texas Penal Code.
(Official Oppression §39.03) (Perjury§37.01)

87. Within this arrest proceedings, Police Officer Kristopher Carter suffered not only his
immediately deprivation of rights of all natural freedoms [which are guaranteed by and to all
natural individuals], but Police Officer Kristopher Carter also suffered and witnessed these on-
scene U.S. Constitutional violations of having both his police license, his cell phone devices, and
his concealed hand gun (firearm) all confiscated during this illegal arrest.

88. While, being illegally detained for a criminal offense (with no probable cause and/or just
cause) Police Officer Kristopher Carter repeatedly reminded detective Harris, that upon all sole-
custodial rights and duties that were granted by the 309th Judicial District Court of Harris
County, that his minor by the initials of “S.C.” was in need of custodial care-taking following her
exit of school which was in only a few hours later; Police Officer Kristopher Carter’s attempt to
make verbal telephone access to this minor which was continuously denied by detective Harris
repeatedly.

89. During this time of arrest, Police Officer Kristopher D. Carter (TCOLE Number:

438761) was a sworn State of Texas Peace Officer with this Houston Independent School’

District Police Department for over 4 % years.

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90. This address of this Houston Independent School District Police Department is located at
3500 Tampa Street, Houston, Texas 77021.

91. While employed at this Houston Independent School District Police Department,

Police Officer Kristopher D. Carter had received several public-service fitness awards; which
included Police Officer of the Year in 2018.

92. More so, Police Officer Kristopher D. Carter worked at this Westside High School campus
located at this address of 14201 Briar Forest Drive, Houston, Texas 77077.

93. While employed as a Police Officer at this Westside High School, Police Officer

Kristopher D. Carter had developed countless amounts of relationships, mentorships and
partnerships, with over 30,000 students, parents and current staff members, while performing all
job duties and employment as a Police Officer.

94. Police Officer Kristopher D. Carter, was also a courtesy officer at this Abbey at

Briar Forest Apartments located at this address of 1919 South Kirkwood Road, Houston,

Texas 77077.

95. In which, at this location Police Officer Kristopher D. Carter continuously supported and
aided over 2,000 residents on a daily basis.

96. In 2020, Police Officer Kristopher D. Carter received a promotion and was reassigned to the
3rd shift patrol at this Houston Independent School District Police Department. During this time,
Police Officer Kristopher D. Carter’s salary was estimated to be approximately $110,000 a year.
97. Most importantly, it was later discovered that after booking Former Police Officer
Kristopher Carter into the Harris County Jail located at 701 North San Jacinto Street,

Houston, Texas 77002 for a warrant in which all accusations of sexual assaults were

“investigative neglected and false”, that detective Harris had intentionally and knowingly

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(Upon all actions that occurred which substantially injured Police Officer Kristopher

Carter) purposely omitted key details and facts to this Harris County District Attorney’s

Office in efforts to secure an arrest warrant against Police Officer Kristopher Carter, while acting
in an avenging and tactful nature. (Official Oppression §39.03) (Perjury§37.01)

98. In short, (while being placed under illegal malicious detentions [at this Harris

County Jail]) this Former Police Officer Kristopher Carter was informed that detective

Harris had later [in contempts against 309th Judicial District Court of Harris County] attempted
to inappropriately and “upon all” unadvisedly force this minor by the initials of “S.C. to this
respondent Blaylock [See. Texas Penal Codes. §22.041for Child Endangerments], who weeks
prior had [with legal counsels] signed away all parental and custodial rights in the 309th Judicial
District Court of Harris County on May 10, 2021 of this minor by the initials of “S.C.

99. Furthermore, in this moment, of being afraid for her life, this minor had physically ran away
from Blaylock, in which this Cypress-Fairbank Police Department were communicated to (on
this same night, after this handles of this illegal arrest by detective Harris) and notified to
administer all apprehensions of S.C. while dictating all proper youth interventions. ([Cypress-
Fairbank Police Department] acted proper and in compliances of all of the 309th Judicial District
Court of Harris County legalities and custodial prudences) (Child Endangerment
§22.041)(Cypress-Fairbank Police Department case number: 21-01231).

100. Upon this immediate release of Former Police Officer Kristopher Carter, [while still trying
to adjust to all avenues of these recently falsely accused turmoils] which were based on false
allegations and no moral evidences or clauses, Blaylock contacted this Texas Department for
Child Services and set all stages for yet another series of false reporting (which in turn generated

no-maliciously attempted results).

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101. Following this 7 months, of this false imprisonment, [of Former Police Officer
Kristopher Carter], detective Harris, on or about this month of November 2021, falsified and set
these standards willfully and wantonly by altering and obstructing truth revealing (digital)
documents as well as omitting specific implementations of “chronologically-layered”
exculpatory evidences from this discovery for cause number: 1724346/47 and case number:
210300815; This goes entirely, despite having all necessary documental evidences presented
after and following these “possessive and/or confiscative searches and seizures” from Former
Police Officer Kristopher Carter’s (individual) during this time of his arrest and illegal search
and seizures. (Tampering with Evidence §37.09)(Obstructing Title 8 Chapter §38.08)

102. These daunting final criminal act(s) further illustrates these “unsupervised” impressions and
malign motives towards these “un-statutory and Unconstitutional malicious act(s)” while
displaying “willful” intents of substantial harms “and all” injuries towards Former Police Officer
Kristopher Carter.

103. Moreover (upon professional inadequate parallels) Defendant Jamie Michele Burro
participated as an actor within this malign pursuit of falsely arresting and conspiring to publicly
indict this Former Police Officer Kristopher Carter (for no such cause) within (amongst all
possible criminal conspiracies) in congruence of this Harris County Sheriff’s Department, police
investigator Harris; which caused massive and continuous injuries to this Former Officer.
(Within this Harris Counties) as well as this minor (by this initials of S.C.).

104. More so, on or about May 28, 2021, during this preliminary hearing, (at this 230th
District Court criminal court located at this 1201 Franklin Street, Houston, Texas 77002)
Defendant Jamie Michele Burro whom (after never basing any case points on factual [Possible

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on-viewed] and verified evidences had discovered (as per this former police officer’s legal

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representative) that all motives behind all allegations filed, criminally charged, established and
confirmed, were retaliatory in nature and stemmed from this current and present on-going child
custody battles.[This child custody dispute of this (309th Judicial District Court of Harris
County) was a well-known amongst many]

105. During, all processes of this arrest, this parental-relationship custodial establishment was
currently within this TRO (Temporary Restraining Orders) ligation proceeding at the 309th
Judicial District Court of Harris County. Moreover, (this legal representative of this Former
Police Officer) read from these transcripts of all detailing and newly unveiling aspects of this
309th J udicial District Court of Harris County Temporary Restraining Order hearing (TRO), then
and newly-introduced under this jurisdictional criminal filings matter(s) of and/to this 230th
Criminal District Court of Harris County.

106. All revelations pointing that this Former Police Officer was in fact this “full” custodial
guardian of this minor by the initials of “S.C.

107. Additionally so, despite neglecting to conduct any further and/or thorough investigation(s)
after this entire one-year timeline duration(s) following these illegal detainment(s) and false
arrest(s) of this Former Police Officer, Defendant Jamie Michele Burro [additionally] willfully
and wanton acted in such manners of committing minimal State statutory violations of
prosecutorial misconducts by engaging in this Solicitation of Perjury against this former Police
Officer.[In efforts of willfully and wantonly criminally prosecuting this innocent “black-male”
complainant]

108. In accordance, (toward nobody’s surprise) on April 5, 2022, Defendant Jamie Michele

Burro summoned and improperly solicited for this spoken testimonies of Blaylock at this Harris

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County Grand Jury Indictment Hearing. (See. Texas Penal Codes. Aggravated Perjury §37.03)
(§37.09 Tampering with or Fabricating Physical Evidence)

109. In which, Blaylock arrived on this settings and [while sworn under oaths] [and (for this
records) [under all penalties of Perjury] [willfully and wantonly] committed this Texas Penal
Codes. criminal statutory violations of Aggravated Perjury §37.03.

110. For all which all intents and purposes, resulting in this felony indictment(s) of this Former
Police Officer.

111. These act(s) also aided and abided in this deprivation of this Former Police

Officer’s rights.

112. These act(s) also make [intentional] mockeries of our court’s [internal and undisclosed]
justice systems processes. Previously, Defendant Jamie Michele Burro had “willfully” failed to
examine key portions of exculpatory material(s) within relationships of this case (cause number:
1724346/47 and case number: 210300815) which and/or neglected to professionally demonstrate
“foreseeable insights” towards weighing “all fair scales of justices” and should have
professionally acknowledged that Blaylock was going to commit sworn judicial deceptions and
commit all [retaliatory [willful and wanton] acts of Aggravated Perjury. (§37.03).

113. Defendant Jamie Michele Burro was immediately reassigned to another division within this
Harris County District Attorney’s Office as a professional maneuver to escape all professional
retaliatory liabilities, after finalizing acute and severe, intentional and willful harms upon this
Former Police Officer’s professional career, community reputations, and [innocent] qualities of
life.

114. On or about, December 5, 2022, this cause number: 1724346/47 and case number:

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210300815 for these [willfully and wanton] as acts of malice, criminally and racially - charged
offenses: Sexual Assault §21.01 and Invasive Visual Recording §21.15 were dismissed without
any trial fashions or proceeding(s) or improper conditional plea dealings towards this Former
Police Officer. [Nineteen months later following all Unconstitutional United States 4"
amendment pretrial-detainments]

115. As a direct and proximate result of the misconduct of the Defendants individually and
collectively described herein, Plaintiff suffered economic and non-economic damages in an
amount to be fully determined in a trial by jury.

116. The Plaintiff is seeking compensatory and punitive damages against each of the Defendants
named in the instant matter individually and collectively in an amount to be determined in a trial
_ by jury as well as any and all other Relief deemed necessary and applicable.

COUNT I

CIVIL ACTION FOR DEPRIVATION OF RIGHTS

117. This Plaintiff hereby references and incorporates Paragraphs | through 116 as though set
forth herein at length.

118. Section 1983 provides, in pertinent part: Every person who, under color of any statute,
ordinance, regulation, custom, or usage of any State ... subjects, or causes to be subjected, any
citizen of the United States ... to the deprivation of any rights, privileges, or immunities secured
by the Constitution and laws, shall be liable to the party injured in an action at law, suit in equity,
or other proper proceeding for redress. 42 U.S.C. § 1983.

119. To assert a claim under section 1983, Plaintiff must show (1) he had a right secured by the
Constitution and laws of the United States that was violated (2) by a person who acted under

color of state law. Hall v. Witteman, 584 F.3d 859, 864 (10th Cir. 2009)

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120. The complaint must allege an affirmative link between the alleged constitutional violation
and the specific individual’s participation in that violation. Stidham v. Peace Officer Standards
and Training, 265 F.3d 1144, 1156-57 (10th Cir. 2001).

121. The doctrine of qualified immunity “shields government officials performing discretionary
functions from individual liability under 42 U.S.C. § 1983 unless their conduct violates clearly
established statutory or constitutional rights of which a reasonable person would have known.”
DeSpain v. Uphoff, 264 F.3d 965, 971 (10th Cir. 2001) (quoting Baptiste v. J.C. Penney Co., 147
F.3d 1252, 1255 (10th Cir. 1998) (internal quotation marks omitted)).

122. Once a defendant asserts the defense, the plaintiff must demonstrate that qualified immunity
is not proper by showing that “(1) the defendant’s conduct violated a constitutional right and (2)
the law governing the conduct was clearly established at the time of the alleged violation.”
DeSpain, 264 F.3d at 971 (quoting Baptiste, 147 F.3d at 1255). The Constitutional rights alleged
to have been violated in the instant matter are:

- The 2nd Amendment to the United States Constitution provides: A well-regulated Militia,
being necessary to the security of a Free State, the right of the people to keep and bear
Arms, shall not be infringed.

- The 4th Amendment to the United States Constitution provides: The right of the people to
be secure in their persons, houses, papers, and effects, against unreasonable searches and
seizures, shall not be violated, and no warrants shall issue, but upon probable cause,
supported by oath or affirmation, and particularly describing the place to be searched, and
the persons or things to be seized

- The 5th Amendment to the United States Constitution provides: No person shall be held

to answer for a capital, or otherwise infamous crime, unless on a presentment or

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indictment of a Grand Jury, except in cases arising in the land or naval forces, or in the
Militia, when in actual service in time of War or public danger; nor shall any person be
subject for the same offence to be twice put in jeopardy of life or limb; nor shall be
compelled in any criminal case to be a witness against himself, nor be deprived of life,
liberty, or property, without due process of law; nor shall private property be taken for
public use, without just compensation.

The 6th Amendment to the United States Constitution provides: In all criminal
prosecutions, the accused shall enjoy the right to a speedy and public trial, by an
impartial jury of the State and district wherein the crime shall have been committed,
which district shall have been previously ascertained by law, and to be informed of the
nature and cause of the accusation; to be confronted with the witnesses against him; to
have compulsory process for obtaining witnesses in his favor, and to have the Assistance
of Counsel for his defense.

The 14th Amendment to the United States Constitution provides: No State shall make or
enforce any law which shall abridge the privileges or immunities of citizens of the United
States; nor shall any State deprive any person of life, liberty, or property, without due
process of law; nor deny to any person within its jurisdiction the equal protection of the

laws.

123. Implicit in the Fourth Amendment's protection from unreasonable searches and seizures is

its recognition of individual freedom. That safeguard has been declared to be "as of the very

essence of constitutional liberty" the guaranty of which "is as important and as imperative as are

the guaranties of the other fundamental rights of the individual citizen . . . ."" Gouled v. United

States, 255 U.S. 298, 304 (1921); cf. Powell v. Alabama, 287 U.S. 45, 65-68 (1932). While the

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language of the Amendment is "general," it "forbids every search that is unreasonable; it protects
all, those suspected or known to be offenders as well as the innocent, and unquestionably extends
to the premises where the search was made . . . ." Go-Bart Importing Co. v. United States, 282
USS. 344, 357 (1931). Mr. Justice Butler there stated for the Court that "[t]he Amendment is to
be liberally construed and all owe the duty of vigilance for its effective enforcement lest there
shall be impairment of the rights for the protection of which it was adopted." Ibid. He also
recognized that "[t]here is no formula for the determination of reasonableness. Each case is to be
decided on its own facts and circumstances." [bid.; see United States v. Rabinowitz, 339 U.S. 56,
63 (1950); Rios v. United States, 364 U.S. 253, 255 (1960).

124. These Defendants knew or should have known of this material circumstances as this
Plaintiff informed them of this several times throughout the course of this incidents including but
not limited to at the time of the incident as shown through this undisputed evidences pertaining
to this instant matters.

124. As a result, the Plaintiff alleges that there is enough evidence to proceed forward with the
42 U.S.C. § 1983 claim and that this Defendants are absolved of any and all qualified immunity
protections on the basis of the grossly negligent circumstances described herein; within all facts
disputed to be determined in a trial by jury.

125. As a direct and proximate cause of the misconduct described herein, the Plaintiff suffered
damages in an amount to be determined in a trial by jury in economic and non-economic
damages as well as mental suffering.

126. The Plaintiff is seeking compensatory damages and punitive damages for each of the causes

of action described herein as well as any and all other relief deemed necessary and applicable.

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COUNT II

DEFAMATION

127. This Plaintiff hereby references and incorporates Paragraphs 1 through 116 as though set
forth herein at length.
128. To establish a defamation cause of action in the State of Texas, a plaintiff must prove that
the defendant (1) published a statement; (2) that was defamatory concerning the plaintiff; (3)
while acting with either actual malice, if the plaintiff was a public official or public figure, or
with negligence, if the plaintiff was a private individual, regarding the truth of the statement.
WFAA-TV, Inc. v. McLemore, 978 S.W.2d 568, 571 (Tex. 1998).
129. Here, the Defendants have consistently proceeded to spread false and fraudulent
information about this Plaintiff throughout this facts described in this instant matters with
reckless disregard for the rights and interests of this Plaintiff thereby giving rise to this instant
complaint.
130. As a direct and proximate cause of the misconduct described herein, this Plaintiff suffered
damages in an amount to be determined in a trial by jury in economic and non-economic
damages as well as mental suffering.
131. This Plaintiff is seeking compensatory damages and punitive damages for each of the
causes of action described herein as well as any and all other relief deemed necessary and
applicable.

COUNT III

MALICIOUS PROSECUTION

132. This Plaintiff hereby references and incorporates Paragraphs | through 116 as though set

forth herein at length.

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133. To sustain a malicious prosecution claim, Texas law requires that a plaintiff show “(1) a
criminal action was commenced against him; (2) the prosecution was caused by the defendant or
with his aid; (3) the action terminated in the plaintiff's favor; (4) the plaintiff was innocent; (5)
the defendant acted without probable cause; (6) the defendant acted with malice; and (7) the
criminal proceeding damaged the plaintiff.” Id. at 328 (quoting Taylor v. Gregg, 36 F.3d 453,
455 (Sth Cir. 1994)).
134. In this instant matter, a criminal action was initiated against this Plaintiff without
justification or cause and was created by these Defendant’s in this instant matter in tandem with
one another.
135. These actions was ultimately terminated in the Plaintiff's favor an therefore resulted in
damages to this Plaintiff both economically and non-economically through his detention and this
substantial amount of efforts put forth afterwards to clear his name.
136. As a direct and proximate cause of this misconduct described herein, this Plaintiff suffered
damages in an amount to be determined in a trial by jury in economic and non-economic
damages as well as mental suffering.
137. This Plaintiff is seeking compensatory damages and punitive damages for each of the
causes of action described herein as well as any and all other relief deemed necessary and
applicable.
COUNT IV

ABUSE OF PROCESS

139. This Plaintiff hereby references and incorporates Paragraphs 1 through 116 as though set

forth herein at length.

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140. The elements of abuse of process are: (1) the defendant made an illegal, improper, or
perverted use of the process, a use neither warranted nor authorized by the process; (2) the
defendant had an ulterior motive or purpose in exercising such illegal, perverted, or improper use
of the process; and (3) damage to the plaintiff as a result of such illegal act. Bossin v. Towber,
894 S.W.2d 25, 33 (Tex. App.—Houston [14th Dist.] 1994, writ denied)
141. Defendant Kohisha Blaylock completed this deprivation of rights by [willfully and
wantonly] committing continuous false criminal accusations [during all judicial proceedings]
against this Former Police Officer in which this defendant (maliciously and upon acts of
retaliatory intents)[See. 309th Judicial District of Harris County, Texas (Case number: 2021-
14248)] manipulated (upon multiple statutory penalties of perjuries and false reportings) upon all
parties have displayed and acted upon [discriminatory intents] towards violating this plaintiff's
Second, Fourth, Fifth, Sixth, and Fourteenth Amendments of this United States Constitution.
142. Defendant Kohisha Blaylock also completed [this following] abuses of rights as violations
of See. Texas Penal Code Sections: 37.02, 37.03(b), 37.04 (c), 37.05(1)(2), 37.06,
37.08, 37.09(1)(2)(d)(1), 42.01(a)(2), 42.06(a), 42.061, 42.07(a)(3). [In which all defendants’
were aware and possessed prior knowledge of]
143. For this record, it is publicly-documented and [well-known by all defendants] that Blaylock
has previously filed over six prior frivolous police reports: [without any criminal causes of acts
and/or actions]

I. Madison Police Department [Case No: 2009-224165]

II. Harris County Sheriff’s Department [Case No: 16-84385]

Il. Harris County Sheriff’s Department [Case No: 2103-00815]

IV. Harris County Constable’s Department [Case No: 2103-00940]

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V. Houston Independent School District Police Department [State of Texas Sworn
- Affidavit]
VI. Texas Department of Child Services [Case No: 48682216]

144. Defendant Shamanda Harris completed this [willfully and wanton] acts of deprivations of
rights towards this complainant.
145. More so, the fruits of this arrest warrant which was obtained by [detective Harris]
demonstrates only this fruits of illegal activities which were [willfully and wantonly] fabricated
against this former police officer.
146. Defendant Shamanda Harris knew and was aware that no probably causes exists for any
legal warrant proceedings and that all intentions were stepped towards inflicting and injuring this

Former Police Officer. (See. Franks vs. Delaware)

147. Defendant Shamanda Harris actions were similar in this details and facts (See.
BreonnaTaylor) in which this defendant successfully committed and should be charged with
(And/or not including these Constitutional Civil Rights violations) with conducting unlawful
criminal conspiracies, and obstruction offenses. (See. The Justice Act)

148. Defendant Harris’s [willful and wanton] acts also confirmed this United States
Constitutional violations of this plaintiff's Second, Fourth, Fifth, Fourteenth amendments. (And
which shall not qualify for any immunities doctrines)

149. Furthermore, following this Former Police Officer’s dismissal of any criminal wrongdoings,
defendant Harris, is still in possession of this illegally confiscated properties of this
complainant’s. (See. Cause number: 1724346/47 and case number:

210300815 [of this 230th Criminal District Court of Harris County] which is a current and

withstanding United States Constitutional violation of this plaintiff's 4th amendments

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150. Defendant Harris should not only be held liable for this compensatory and injunctive
damages reliefs but also for punitive damages and upon [willful and wanton] acts of abuse of
process and malicious foot holdings and standards.

151. Nevertheless, this former police officer’s [DNA] is still under this confinements of this
State; which is concurrently illegally obtained by a series of false arrests and uniquely stored
towards futuristic prosecutions towards this plaintiff. See. United States v. Reese, 92U.S. 214
(1875)

152. All exculpatory evidences used against this former police officer were never grounded by
“obstructed facts” and were in fact invalid upon all thorough and just [without discriminations]
investigative inspections. See [Carroll v. United States (1925)]:

I. “Good Faith is not enough to constitute probable cause. That faith must be grounded on
facts within the knowledge of the law enforcement agent, which in the judgment of the
court would make this faith reasonable.”

153. Defendant Jamie Burro, [during this investigative staging’s] did not have any probable
causes and mere suspicion would have not been enough to issue a criminal summons of arrests
against this former police officer.

154. Despite never having probable causes, defendant Jamie Burro continued to prosecute this
innocent citizen and former police officer [now under this role of Harris County prosecutor] for
an additional nineteen months. [In which (multiple) prosecutorial misconducts have occurred].
See. Brinegar v. United States (1949) Whereas, probable causes are designed to hold actors
[these defendants] within various judicial jurisdictions and proceedings accountable.

155. More so, defendant Jamie Burro (along with all defendants) should have known that if law

[and its fruits] is so vague and standard less, that it leaves this uncertainty of conducts in which it

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prohibits, then it fails to meet this requirements of the Due Process Clauses. See. Giaccio v.
Pennsylvania, 382 U.S. 399, 86 S. Ct. 518 (1966). These frivolous exculpatory materials which
were presented by defendant Blaylock were extremely vague and standard less, therefore should
not have been measured upon justified due process proceedings. However (as results) this
plaintiff's civil rights were violated upon [willful and wanton] later unveiled-aggravated
perjuries. (acted upon as of these defendants’)
156. Investigator, defendant Burro shall have possessed all knowledges that this exculpatory
materials would have without doubt led to a motion of Habeas Corpus.
157. In addition, civil rights violations within this complaints by these defendants’ include
procedural impediments at this federal levels which shall continue to be inadequate if “standard
and ethical” permanent discriminatory injunctions and declaratory relief measures which are not
granted.
158. Furthermore, no municipal internal investigations of misconducts were conducted by its
“internal investigative” employees’ upon ‘alertness’ of constitutional violations’ in a procedural
fashions. [which could have prevented mental anguish and irreparable defamatory injuries
absorbed towards this Former Police Officer] upon reporting.

COUNT V

MUNICIPALITY LIABILITY (MONELL CLAIM)

159. The Plaintiff hereby references and incorporates Paragraphs 1 through 116 as though set
forth herein at length.
160. Section 1983 provides a cause of action against any person who, acting under color of state

law, “subjects, or causes to be subjected, any citizen of the United States or other person within

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the jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws.” 42 U.S.C. § 1983.

161. A municipality is liable under § 1983 “when execution of [its] policy or custom, whether
made by its lawmakers or by those whose edicts may fairly be said to represent official policy,
inflicts the injury.” Monell, 436 U.S. 658, at 694. Municipal liability can rest on: (1) an express
policy that caused the constitutional deprivation; (2) a widespread practice that, although not
authorized by written law or express municipal policy, is so permanent and well settled that it
constitutes a policy; or (3) that the constitutional injury was caused by a person with final
policymaking authority. Lewis v. City of Chi., 496 F.3d 645, 656 (7th Cir, 2007).

162. To survive a motion to dismiss a Monell claim, a plaintiff must “plead facts that show 'that
there is a true municipal policy at issue, not a random event. If the same problem has arisen
many times and the municipality has acquiesced in the outcome, it is possible (though not
necessary) to infer that there is a policy at work.’” Liska v. Dart, No. 13 C 1991, 2014 WL
3704635 at *10 (N.D. Ill. July 23, 2014)

163. A plaintiff also must be able to show that the municipality’s policy was the “moving force”
behind the alleged injury; that is, a plaintiff “must demonstrate a direct causal link between the
municipal action and the deprivation of federal rights.” Bd. of Cnty. Comm'rs of Bryan Cnty. v.
Brown, 520 U.S. 397, 404 (1997);

164. In this instant matter, no municipal internal investigations of misconducts were conducted
by its “internal investigative” employees’ upon ‘alertness’ of constitutional violations’ in a
procedural fashions. [which could have prevented mental anguish and irreparable defamatory

injuries absorbed towards this Former Police Officer] upon reporting.

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165. This municipality engages in policies and practices of deliberate indifferences to this care
and custody’s of its citizens that results in this unlawful detention(s), false arrest(s), abuse of
processes within [allotted] authorities and malicious prosecutions of law-abiding police officers.
166. In addition, within these alternatives, this defendant provided inadequate trainings to
civilian and sworn officer personnels, including but not limited to this defendant Harris and
failed to supervise [within this agency] while criminal procedurals and detentions occurred.
167. This defendant, as a municipality, under constant practices, adheres to placing its citizens
into dangerous and constitutional-rights’ violating situations without any preventive measures.
168. For this record, this municipality has a record of over thirty inmate deaths within this Harris
County Jails which are located within this geographical confinements within this County of
Harris.
A. A municipality may be held liable for its failure to train a single police officer when
the officer’s acts were so egregious that the city should have had a clear warning that the
particular officer posed a danger to citizens. See Pineda v. City of Houston, 124 F. Supp.
2d 1057, 1068 (S.D. Tex. 2000
169. Against all rights, this municipality detained this innocent and law-abiding Police
Officer in this same establishments (with) as over 800 murder suspects at which this jailed
institution was not in compliance with this State of Texas.
170. Most importantly, this municipality has shown this continuous and systematic neglects as
this Former Police Officer is suffering upon sustained injuries in results.
171. Failures of trainings to provide and steadily maintain federal leveled guidelines of private
and individuals’ protected rights [by this municipality] will continue to excel as in substantial

and factual federal pleadings.

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172. All violations of these acts are concurrently in precessions; still today and as a result has
severely caused irreparable injuries to this plaintiff, as major openings by this hands of these
defendants’ whom are currently exercising beyond statutorily conferred powers and/or
departmental injustice and abuses.

173. All exculpatory materials [which shall be presented] shall highlight all gaps within these
defendants’ trainings, adequate knowledge of these laws, and utter disregards for this plaintiffs
civil rights and God-Ordained liberates.

174. Equally important, alongside unnecessarily defamation(s) which were acted upon [willfully
and wantonly] towards this “black-male” complainant with all disregards for all truths, it shall be
proven that [willful and wanton] acts were in affects as a means of reassurances that no probable
causes was never merely established by “all” defendants.

175. Equally, these defendants worked tremendously and painstaking hard in efforts of escaping
previously judicially-documented and non-investigatory (retaliatory) filed defamatory footsteps
of perjuries (upon actors of “all” Courts); Instead, of receiving all elements of truthful briefings
presented by multiple legal representative of this former police officer. [Whom were collectively
appraised and licensed]

176. As majority of these intents of merits were based upon “racial and minority-based
demographic biases” and not factual beliefs.

177. These official policies or customs excised throughout these acts have affirmed Untied States
Constitutional violations.

178. These attempts were by all means in collaborations to destroy a successful and career driven

“polished” minority.

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179. Additionally, both defendants Jamie Michele Burro and Shamanda Harris [currently
amongst their individual capacities] whom were sworn and certified under this color of law
should have exercised all legislative powers and authorities of within [upon non-bias of
retaliatory malice] and should have not acted upon any guises of any lying tongues. (Towards
this former police officer)

180. However, upon today’s knowledges, all acts of these defendants of whom have shown as
neglected acts of (willful and wanton) institutional valor(s) of law enforcement governments,
“all” are ensuring that all images must end up in this public eye as defamatory (at best) towards
such foreign and/or specific individuals. [Namely within this lawsuit]

181. Furthermore, it shall be proof-driven by a series of exhibits [not upon without “any”
reserves] that this plaintiff's second, fourth, fifth, sixth, and fourteenth amendments to this
United States Constitution were deprived as produces (without respects) upon this Texas Penal
Code Articles 20.02, 22.041(c) (e), 37.03, 37.08, 37.09 and 39.03 in which all exculpatory
evidences for discoveries shall be presented to this court.

JURY TRIAL DEMANDED

182. This Plaintiff hereby demands a trial by jury with regards to any and all genuine disputes of
material facts.

PRAYER FOR RELIEF

183. For this records and above [upon majority] but (not all) monetary compensations damages
towards this Former Police Officer Kristopher Carter, shall include injunctive reliefs, “all”
monetary damages for intentional discriminations, “every” attorney’s retainer fees, and costs of
suit as provided for by 42U.S.C. §1988 (b). Plaintiff requests that this court and juries awards

“all” attorney fees and expenses. [Case 4:23-cv-01042]

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184. Availabilities of individual’s monetary damages through agency actions, [including]
medical bills, “all” lost wages, reduced earning capacities, pain and suffering (mental anguish
amongst large amounts of discriminatory distress), compensation as trial by jury [demands] as
per “every” constitutional injuries.
185. Punitive damages are also prayer upon. More so, Former Police Officer
Kristopher D. Carter suffered irreparable injuries as a results of this defendants’ intentional and
willful actions.
186. Upon this defendants’ unlawful conducts, [this Former Police Officer] has suffered, (past)
and is suffering (present), this regularities of physical, mental, and psychological damages in
these forms of extreme and enduring worrying, grief, headaches, humiliation upon defamatory
markings, public embarrassments of shames, mental anguishes, and emotional traumas within
this jurisdictional limits of this Court, in which are to be presented at trials.
WHEREFORE, based on the foregoing, the Plaintiff seeks that this Honorable Court enters a
judgment against the Defendants as follows:

A) COMPENSATORY DAMAGES in an amount not less than $90,000 to be determined

in a trial by jury

B) PUNITIVE DAMAGES in an amount to be determined in a trial by jury

C) COSTS AND FEES associated with litigating the instant matter
D) ANY AND ALL OTHER RELIEF DEEMED NECESSARY AND APPLICABLE

DATED: April 26, 2023 Respectfully Submitted,

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Former State of Texas Sworn Peace Officer
TCOLE Numbers 438761

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